Case 1:16-cv-00347-JMS-RLP Document 220 Filed 01/04/18 Page 1 of 6   PageID #:
                                   1780


                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

Atooi Aloha, LLC, et al.,          )     CIVIL NO. 16-00347JMS-RLP
                                   )
            Plaintiffs,            )     ORDER SETTING SETTLEMENT
                                   )     CONFERENCE
      vs.                          )
                                   )
                                   )
Abner Gaurino, et al.,             )
                                   )
          Defendants.              )
____________________________       )

            Pursuant to LR 16.5(b), all parties and their lead

counsel are hereby ORDERED TO APPEAR before the undersigned on

February 22, 2018 at 10:00 a.m., Chambers of Magistrate Judge

Richard L. Puglisi.      Each party or a designated representative

with final settlement authority, other than an attorney of

record, must personally attend the settlement conference.            If a

defendant is insured, an adjuster or other representative of that

defendant’s insurer with final settlement authority must

personally attend the settlement conference.1


      1
        “Final settlement authority” means that the insurance
representatives at the settlement conference must be authorized
to explore settlement options fully and to agree at that time to
any settlement terms acceptable to the parties. Heileman Brewing
Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989). The
person should have “unfettered discretion and authority” to
change the settlement position of a party. Pitman v. Brinker
Int’l, Inc., 216 F.R.D. 481, 485-86 (D. Ariz. 2003). The purpose
of requiring a person with unlimited settlement authority to
attend the conference contemplates that the person’s view of the
case may be altered during the face-to-face conference. Id. at
486. A limited or sum certain of authority is not adequate.
Nick v. Morgan’s Foods, Inc., 279 F.3d 590, 595-97 (8th Cir.
2001).
Case 1:16-cv-00347-JMS-RLP Document 220 Filed 01/04/18 Page 2 of 6   PageID #:
                                   1781


             Experience teaches that settlement conferences are

often unproductive unless the parties have exchanged demands and

offers before the conference and made a serious effort to settle

the case on their own.      Accordingly, before arriving at the

settlement conference, the parties are to negotiate and make a

good faith effort to settle the case without the involvement of

the Court.    Specific proposals and counter proposals shall be

made.   If settlement is not achieved before the settlement

conference, the parties shall be prepared to engage in further

negotiation at the conference.

             Each party shall provide the undersigned a confidential

settlement conference statement at least 7 days before the

conference, no later than February 15, 2018.          The statements

shall outline the settlement negotiations to date.

             The purpose of the settlement conference is to

facilitate settlement of this case, if that is appropriate.             It

will be conducted in such a manner as not to prejudice any party

in the event settlement is not reached.         To that end, all matters

communicated to the undersigned in confidence will be kept

confidential, and will not be disclosed to any other party, or to

the trial judge.     The undersigned, of course, will not serve as

the trial judge in this case.

             At the settlement conference, the parties, by counsel,

shall give a brief (5 minute) presentation outlining the factual

and legal highlights of their case.        Then separate, confidential
Case 1:16-cv-00347-JMS-RLP Document 220 Filed 01/04/18 Page 3 of 6   PageID #:
                                   1782


caucuses will be held with each party and the party’s

representative(s).

            The order for parties’ personal appearance is intended

to increase the efficiency and effectiveness of the settlement

conference, by reducing the time for communication of offers and

expanding the ability to explore options for settlement.

            IT IS SO ORDERED.

            DATED AT HONOLULU, HAWAII, January 4, 2018.




                                   _____________________________
                                   Richard L. Puglisi
                                   United States Magistrate Judge
Case 1:16-cv-00347-JMS-RLP Document 220 Filed 01/04/18 Page 4 of 6   PageID #:
                                   1783


                 SETTLEMENT CONFERENCE PREPARATION

Experience shows that in negotiations the party who is best
prepared usually obtains the best result. Settlement conferences
can be held more efficiently if all parties and counsel

are prepared. The following are some areas to consider in order
to aid in the effectiveness of this settlement conference.

A. FORMAT

      1.    Parties with final settlement authority must be
            personally present.

      2.    The Court will use a mediation format, and private
            caucusing with each side; the judge may address your
            client directly.

      3.    Do you want a summary jury trial, arbitration, mini-
            trial or other procedure instead of/after this
            conference? If so, or if you want to know more about
            these processes, please contact the Court so a
            conference call to discuss options can be arranged.
            Have you discussed these options with your client?

B. ISSUES

      1.    What issues (in and outside of this lawsuit) need to be
            resolved? What are the strengths and weaknesses of each
            issue. What is your most persuasive argument?

      2.    What remedies are available resulting from this
            litigation or otherwise?

      3.    Is there any ancillary litigation pending/planned which
            affects case value?

      4.    Do you have enough information to value the case? If
            not, how are you going to get more information before
            the conference?

      5.    Do attorneys fees or other expenses affect settlement?
            Have you communicated this to the other side?


C. AUTHORITY
Case 1:16-cv-00347-JMS-RLP Document 220 Filed 01/04/18 Page 5 of 6   PageID #:
                                   1784


      1.    Are there outstanding liens? Have you verified amounts
            and whether they are negotiable? Do you need to include
            a representative of the lien holder? If so, contact the
            Court immediately.

      2.    Is there valid insurance coverage? In what amount? If
            coverage is at issue, or the amount/type affects
            settlement value, have you notified the other
            side? Do you need to include the representative from
            more than one company/carrier? If so, notify the Court
            immediately.

D. NEGOTIATIONS

      1.    Where have your last discussions ended? Are you sure?

      2.    Can you have any discussions before the settlement
            conference to make it proceed more efficiently?

      3.    What value do you want to start with? Why? Have you
            discussed this with your client?

      4.    What value do you want to end with? Why? Have you
            discussed this with your client? Is it significantly
            different from values you have placed on this case at
            other times?

      5.    Is there confidential information which affects case
            value? Why can't/won't/shouldn't it be disclosed? How
            can the other side be persuaded to change value if it
            doesn't have this information?

      6.   What happens if you don't settle the case at the
      conference? What is your best alternative to a
      negotiated settlement? Why?

E. CLOSING

      1.    If settlement is reached, do you want it on the record?

      2.    Have you discussed settlement formats with your client?
            Does the client understand structured settlements,
            annuities, Rule 68 offers to compromise?

      3.    How soon could checks/closing documents be received?
Case 1:16-cv-00347-JMS-RLP Document 220 Filed 01/04/18 Page 6 of 6   PageID #:
                                   1785


      4.    If settlement is not reached, and further discovery is
            needed, what is your plan for continued settlement
            discussions? Do you want Court involvement in these
            talks?

      5.    If settlement is not reached, be prepared to discuss it
            again at the Final Pretrial Conference.
